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EXHIBIT C
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

IN RE THE COMPLAINT AND
PETITION OF TRITON ASSET LEASING
GmbH, TRANSOCEAN HOLDINGS LLC,
TRANSOCEAN OFFSHORE DEEPWATER
DRILLING INC., AND TRANSOCEAN
DEEPWATER INC., AS OWNER,
MANAGING GWNERS, OWNERS PRO-
HAC VICE, AND/OR OPERATORS OF
THE MODU DEEPWATER HORIZON, IN
A CAUSE FOR EXONERATION FROM
OR LIMITATION OF LIABILITY

C.A. NO. 4:10-cvy-1721

Fed. R. Civ.P.9(h)

(OA 0G) 0on Gs 60h bo) COS 6) 60 667 to 608

SECOND AMENDED ORDER DIRECTING CLAIMANTS TO FILE AND
MAKE PROOF OF CLAIMS, DIRECTING THE ISSUANCE

OF MONITION, AND RESTRAINING PROSECUTION OF CLAIMS

Petitioners are Triton Asset Leasing GmbH, Transocean Holdings LLC, Transocean
Offshore Deepwater Drilling Inc., and Transocean Deepwater Inc., as Owner, Managing Owners,
Owners Pro Hac Vice, and/or Operators, of the MODU DEEPWATER HORIZON. Petitioners
filed a Complaint and Petition for exoneration from and limitation of liability on May 13, 2010
[Rec. Doc. No. 1]. This Complaint and Petition involves the voyage of the DEEPWATER
HORIZON that began on January 30, 2010, in federal waters at or near Mississippi Canyon
Block 727, and which ended on or about April 22, 2010, at or near Mississippi Canyon Block
252, with the sinking of the DEEPWATER HORIZON.

The Court has considered Petitioners’ Complaint and Petition, along with the affidavits of
value and pending freight filed with the Complaint and Petition. The Court finds adequate
factnal support that the value of Petitioners’ interest in the DEEPWATER HORIZON and its

pending freight at the end of the January 30, 2010 to April 22, 2010, voyage is TWENTY-SIX

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MILLION, SEVEN HUNDRED SIXTY-FOUR THOUSAND AND EIGHTY-THREE AND

NO/100 DOLLARS ($26,764,083.00).

The Court has ordered Petitioners to file an Ad Interim Stipulation in the amount of

TWENTY-SIX MILLION, SEVEN HUNDRED SIXTY-FOUR THOUSAND AND EIGHTY-

THREE AND NO/100 DOLLARS ($26,764,083.00), with Ranger Insurance Company acting as

surety. Petitioners have filed the Ad Interim Stipulation, and the Court has approved the 4d

Interim Stipulation. The Ad Interim Stipulation will serve as security for all claims made in this

limitation proceeding, unless its amount or sufficiency is contested. If the amount or sufficiency

of the Ad Interim Stipulation is contested, the Court will appoint a commissioner to appraise the

value of Petitioners’ interest in the DEEPWATER HORIZON and its pending freight. If the

amount of the Ad Interim Stipulation is sufficient after the commissioner’s appraisal, the Ad

Interim Stipulation will serve as a Stipulation for Value. If the amount of the Ad Interim

Stipulation is not sufficient after the commissioner’s appraisal, the Court will enter an Order

confirming the commissioner’s appraisal. Within ten (10) days of that Order, Petitioners will

pay into the Court’s registry the aggregate amount or value of Petitioners’ interest as the

commissioner has determined or Petitioners will file a bond or Stipulation for Value in the usual

form with surety in the ageregate amount or value of Petitioners’ interest as the commissioner

has determined. It is further,

ORDERED, that a directive issue out of an under the seal of this Court requiring that

Notice be provided to all persons claiming damages for any and all losses, injuries, damages and

destruction of property that occurred during the voyage of the DEEPWATER HORIZON that

began on January 30, 2010, in federal waters at or near Mississippi Canyon Block 727, and

which ended on or about April 22, 2010, at or near Mississippi Canyon Block 252, with the

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sinking of the DEEPWATER HORIZON. This Notice will require claimants subject to the
Injunction, Stay and Restraining Order herein to file their respective claims with the Clerk of this
Court, and to serve on or mail a copy of their claim to the attorney-in-charge for Petitioners, on
or before November 15, 2010. The address for Petitioners’ attorney-in-charge is: Frank A.

Piccolo, Preis & Roy, A.P.L.C., Wesleyan Tower, 24 Greenway Plaza, Suite 2050, Houston,

Texas 77046. It is further,

ORDERED, that no claims may be filed after November 15, 2010, except for good cause.

It is further,

ORDERED, that Petitioners will publish public Notice that they have filed their
Complaint and Petition, along with Notice of how those having claims must file those claims in
this proceeding. Petitioners will publish this public Notice in the Houston Chronicle, a
newspaper of general circulation published in the City of Houston, Texas, and within the

Southern District of Texas. Petitioners will publish this public Notice once a week for four

consecutive weeks before November 15, 2010. It is further,

ORDERED, that Petitioners shall mail a copy of the public Notice to every person known
to have made any claim or to have filed any actions against the DEEPWATER HORIZON or
Petitioners arising out of the voyage of the DEEPWATER HORIZON that began on January 30,
2010, in federal waters at or near Mississippi Canyon Block 272, and which ended on or about
April 22, 2010, at or near Mississippi Canyon Block 252, with the sinking of the DEEPWATER
HORIZON, along with a copy of the public Notice to these persons’ attorneys. Petitioners shall

mail this actual Notice to these persons and their attorneys no later than the date of the second

publication of public Notice in the Houston Chronicle. It is further,

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ORDERED, that the beginning or continued prosecution of any and all suits, actions or

legal proceedings in any jurisdiction other than this Court against Petitioners, the DEEPWATER.

HORIZON, in rem, their agents, officers, representatives, and their underwniters or against any

employee or property of Petitioners arising out of the voyage of the DEEPWATER HORIZON

that began on January 30, 2010, in federal waters at or near Mississippi Canyon Block 727, and

which ended on or about April 22, 2010, at or near Mississippi Canyon Block 252, with the

sinking of the DEEPWATER HORIZON are hereby ENJOINED, STAYED and RESTRAINED

until the hearing and termination of these proceedings. This injunction does not apply to any

claims asserted against Petitioners under the Oil Pollution Act, 33 U.S.C. § 2701, et seq., except

for claims against Petitioners by OPA responsible parties as defined in 33 U.S.C. § 2701(32).

This injunction does not apply to any claims, including those of private parties, asserted against

Petitioners within the scope of 33 U.S.C. § 2718(a), inclusive, except for claims against

Petitioners by responsible parties as defined in 33 U.S.C. § 270132). This injunction does not

apply to any claims asserted against Petitioners by the United States, Indian Tribes, or a State or

political subdivision of a State under the Oil Pollution Act, 33 U.S.C. § 2701, et seg. This

injunction does not apply to any claims asserted against Petitioners by the United States under

the Clean Water Act, 33 U.S.C. § 1251 e¢ seg., the Park Systems Resource Protection Act, 16

U.S.C. § 19ij ef seg., the National Marine Sanctuaries Act, 16 U.S.C. § 1431 ef seg., the Rivers

and Harbors Act, 33 U.S.C. § 401 e¢ seg., and the Comprehensive, Environmental, Response,

Compensation, and Liability Act, 42 U.S.C. § 9601 et seg. This injunction does not apply to any

claims by the United States or a State or political subdivision of a State for any fine, penalty or

injunctive relief within the scope of 33 U.S.C. § 2718(c). Itis further

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ORDERED, that this Order is without prejudice to any party’s or potential claimants’
rights to seek other relief, including, but not limited to (a) the amount of the Limitation Fund
deposited with the Court, or (b) further modification of the Court’s Restraining Order with
respect fo potential rights, claims and causes of action not expressly referred to in this Order, all

such potential rights, claims, and causes of action expressly being preserved, without prejudice;

it is further

ORDERED, that Petitioners may serve this Order as a Restraining Order within this
District by certified mail. Petitioners may serve this Order as a Restraining Order in any other
District by the United States Marshal for such District delivering a certified copy of this Order to
the person or persons to be restrained or to his or their respective attommeys. Petitioners may
serve this Order as a Restraining Order in any other District in the usual manner by mailing or
hand delivering a conformed copy thereof to the person or persons to be restrained or to his or

their respective attorneys. Petitioners may also serve this Order as a Restraining Order in any

other country by means of overseas air mail.

Lf a
DONE at Houston, Texas, this /' day of June, 2010.

WP eco

HON. RITH P. ELLISON.
UNITED STATES DISTRICT JUDGE

APPRO ENTRYREQUESTED:
“

. PICCOLO
794031227
BN: 30197

fpiccolo@preisroy.com

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TRITON ASSET LEASING GMBH, TRANSOCEAN
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DEEPWATER DRILLING INC., AND
TRANSOCEAN DEEPWATER INC.

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